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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

WESTERN DIVISION

)
)
MARY L. DYE, )
)
Plaintiff, )
)

v. ) No. 03-2229 DV
)
BELLSOUTH )
TELEC()MMUNICATIONS, INC., )
)
Defendant. )
)
)

 

ORDER DENYING THE MOTION OF DEFENDANT FOR SUMMARY JUDGMENT

 

Before the Court is the motion of BellSouth Telecommunications, Inc. (“BellSouth”
or “Defendant”) for summary judgmentl Mary L. Dye (“Plaintiff”) asserts a claim for race
discrimination against Defendant pursuant to Title VH of the Civil Rights Act, 42 U.S.C. §§ 2000e,
et seq. The Court has jurisdiction pursuant to 28 U.S.C. § 1331. For the following reasons, the
Court denies Defendant’s motion for summary judgment
I. FACTUAL AND PROCEDURAL BACKGROUNDl

Plaintift`, an African-American female, is employed by Defendant as a Telephone Operator
in Hamrnond, Louisiana. Plaintiff Works as a Telephone Operator in Defendant’s Memphis,
Tennessee Operator Services Department. In January of 1999, Plaintiff applied for short term

disability leave pursuant to Det`endant’s Short Term Disability (“STD”) Benefits Plan. Plaintiff, Who

 

lThe following facts are taken from the memoranda of Defendant in support of, and
Plaintiff in response to, Defendant’s motion for summary judgment and from the exhibits

attached thereto,
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had previously been hospitalized for depression from October 12 through October 22, 1998, asserted
that she was temporarily disabled due to depression

Defendant contracted with a third party plan administrator, Kemper National Services
(“Kemper”), which administered its STD Plan. Defendant, through Kemper, granted Plaintiff’s
disability claim. Pursuant to Defendant’s STD policy, the maximum amount of leave available to
an employee Was 52 weeks. Plaintiff remained on STD from January of 1999 until December of
1999.

On August lO, 1999, Kemper sent Plaintiffa letter informing her that her 52 weeks of STD
leave would expire on December 17, 1999. Plaintiff did not contact Defendant at any time
concerning her return to work. Plaintiff’ s psychologist, Dr. Mace Coday, sent Kemper evaluations
of Plaintiff’s condition during the period of her disability, As early as May of 1999, Dr. Coday
indicated that although Plaintiff continued to suffer from depression, Plaintiff could return to work
part time with a gradual increase to full-time status. Despite Dr. Coday’s evaluations, Plaintiff
remained on STD without returning to work before December ]7, 1999, the date her STD benefits
expired

Plaintiff indicated that she was able to return to work as early as late summer of 1999.
Plaintiff did not return to work, however; and Defendant terminated Plairitiff for failure to return to
work after December 17, 1999. Removing employees from payroll because they fail to return to
work from an authorized leave is standard procedure at BellSouth.

After Plaintiff was terminated, she filed a grievance with her labor union, Communications
Workers of America (“CWA”), challenging her termination Plaintiff and Defendant settled the

dispute, and Defendant agreed to re-instate Plaintiff as an Operator in Memphis effective December

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of 2000. Plaintiff returned to work at BellSouth in December of 2000 on a full-time basis with no
medical restrictions

Prior to being out on STD, Plaintiff was formally counseled on two occasions for her work
attendancel Shirley Wright, Plaintiff’ s African-American supervisor, issued the two written
warnings Plaintiff does not assert that Defendant discriminated against her prior to her STD status.

On April 1 1, 2003, Plaintiff filed a complaint against Defendant in the United States Di strict
Court for the Westem District of Tennessee for race discrimination based upon her termination
Defendant then filed the instant motion for summary judgment
II. LEGAL STANDARD

Summary judgment may be granted if no genuine issue of material fact exists, and the
moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56. Material facts are those
facts which are defined by substantive law and are necessary in order to apply the law. Anderson
v. Liberty LobbyJ lnc., 477 U.S. 242, 248, 106 S. Ct. 2505, 2510, 91 L. Ed. 2d 202 (1986). A
genuine issue for trial exists if the evidence would permit a reasonable jury to return a verdict for the
non-moving party. E.

In evaluating a motion for summary judgment, the evidence, facts, and any inferences must
be viewed in a light most favorable to the non-moving party. Matsushita Elec. lndus. Co. v. Zenith
Radio Co;p., 475 U.S. 574, 587, 106 S. Ct. 1348, 89 L. Ed.2d 538 (1986); W_albou___rnv.E_M_im;y
Care Facility, 150 F. 3d 5 84, 588 (6th Cir. 1998). Once a properly supported motion for summary
judgment has been made, the “adverse party may not rest upon the mere allegations or denials of [its]
pleading, but . . . must set forth specific facts showing that there is a genuine issue for trial.” Fed.

R. Civ. P. 56(e). Summary j udgment is appropriate when “the record taken as a whole could not lead

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a rational trier of fact to find for the non-moving party.” Matsushita Elec. Indus. Co.. 475 U.S. at

587.
III. ANALYSIS

Defendant asserts that Plaintiff has failed to establish a claim for race discrimination To
prevail on a claim of discrimination, a plaintiff must show discriminatory animus. Huguley v.
General Motors Cogg., 52 F.3d 1364, 1370 (6th Cir. 1995). Discriminatory animus may be
established by direct evidence or may be inferred from a prima facie showing of discrimination lc_ll
“[D]irect evidence is that evidence which, if believed, requires the conclusion that unlawful
discrimination was at least a motivating factor” in the adverse employment decision at issue. B;ig
Waterhouse v. Hopkins, 490 U.S. 228, 247, 104 L. Ed. 2d 268, 109 S.Ct. 1775 (1989); Jacklyn v.
Schering-Plough Healthcare Prods. Sales Corp.. 176 F. 3d 921, 926 (6th Cir. 1999) (citations
omitted). Plaintiff has not asserted direct evidence of discrimination Thus, the Court must
determine whether Plaintiff has established a prima facie case of discrimination

A plaintiff may establish a prima facie case of race discrimination by showing by a
preponderance of the evidence that he 1) is a member of a protected group, 2) was subject to an
adverse employment action, 3) was qualified for the position, and 4) was replaced by an individual
outside of the protected class or was treated less favorably than a similarly-situated employee outside
of the protected class. Cla§gon v. Mei]`er, Inc., 281 F.3d 605, 610 (6th Cir. 2002) (citation omitted).
Defendant argues that Plaintiff has failed to establish the fourth element of the prima facie case, i.e.,
that she was treated less favorably than a similarly-situated employee

Plaintiff asserts that she was treated less favorably than Nancy White, a Caucasian co-worker.

Plaintiff contends that Ms. White was also on STD for depression and was allowed to return to work

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with restrictions, such as reduced hours. Defendant first argues that Plaintiff relies on inadmissible
hearsay to establish that Ms. White was permitted to return to work with restrictions

Plaintiff submitted Kemper’s records related to her STD and Ms. White’s STD. These
records reflect that Ms. White received STD for depression and was permitted to return to BellSouth,
per her doctor’s restrictions, prior to the expiration of her STD benefits Thus, Defendant’s hearsay
argument is unavailing

Defendant next asserts that Ms. White is not a comparator because Ms. White was
permanently disabled from her medical condition and was never able to return to work full time,
whereas Plaintiff was able to return to work full time. Ms. White’s restrictions while on STD
included limited hours, more private workspace, and a reduced workload. Ms. White’s restrictions
were very similar to those advised by Plaintiffdoctor, which included limited work hours, reduced
noise, and morning hours. The record reflects, however, that although Ms. White was not able to
return to full duty, she was permitted to work part time while on STD benefits Moreover, while on
STD, both Plaintiff and Ms. White both suffered from the same medical condition, depression
Accordingly, the Court finds that Plaintiff has established that her condition and Ms. White’s
condition resulted in both of them being classified as temporarily disabled pursuant to Defendant’s
STD Plan, such that they may be considered comparators.

Defendant further argues that Ms. White is not a comparator because Plaintiff has not
established how long Ms. White was on STD, what accommodations she requested, and what
accommodations she received The record reflects that Ms. White was on STD from July of 1998
until at least April of 1999. Moreover, Ms. White’s STD records indicate that her doctor authorized

her return to work with restrictions and that BellSouth allowed Ms. White to return with the

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restrictions The Court finds that Plaintiff has alleged sufficient facts to establish that she was treated
less favorably than a similarly-situated Caucasion co-worker. Accordingly, Plaintiff has alleged a
prima facie claim of race discrimination

Defendant asserts that Plaintiff has failed to rebut its legitimate non-discriminatory reason
for terminating her employmentl lf the plaintiff is able to establish a prima facie case of race
discrimination the burden then shifts to the defendant to “articulate some legitimate,
nondiscriminatory reason for the [adverse employment action].” Johnson v. Universitv of
Cincinnati, 215 F.3d 561 , 573 (6th Cir. 2000) (intemal citation omitted). If the defendant carries this
burden, then the plaintiff must prove that the proffered reason was actually a pretext ld. A plaintiff
may establish pretext by showing that the proffered reason l) has no basis in fact, 2) did not actually
motivate the adverse employment action, or 3) was insufficient to motivate the adverse employment
action Manzer v. Diamond Shamrock Chemicals Co.. 29 F.?>d 1078, 1084 (6th Cir. 1994).

Defendant maintains that it terminated Plaintiff because she failed to return to work after her
STD ended. Defendant argues that Plaintiff has not identified any person at BellSouth who
discriminated against her based on race. Plaintiff contends that Defendant, through its agent,
Kemper, refused to permit her to return to work with restrictions and then terminated her for not
returning to work.

As discussed supra, Defendant permitted a Caucasion co-worker to return to work with
restrictions while on STD. Moreover, the records maintained by Kemper, related to Plaintiff and Ms.
White, indicate that Kemper Was in contact with BellSouth managers and supervisors regarding
Plaintiff and Ms. White’s STD status and condition The Court finds that Plaintiff has alleged

sufficient facts to rebut Defendant’s legitimate non-discriminatory reason that Plaintiff’ s failure to

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return to work was the motivating factor in her termination Accordingly, the Court denies
Defendant’s motion f`or summary judgment of Plaintiff"s claim for race discrimination
IV. CONCLUSION

Based on the foregoing reasons, the Court denies Defendant’s motion for summary j udgment

of Plaintiff’s claim for race discrimination

rr Is so 0RDERE1) this 52 3 day ofMay, 2005.

   
  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:03-CV-02229 was distributed by fax, mail, or direct printing on
May 23, 2005 to the parties listed.

 

Mary L. Dye

210 W. Robert St.

Apt. #8

Hammond7 LA 70401--320

Wanda Abioto

LAW OFFICE OF WANDA ABIOTO
1555 Madison Ave.

1\/1emphis7 TN 3 8104

Charles W. Hill

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Sheldon W. Snipe

BELLSOUTH TELECOl\/[MUNICATIONS, INC.
1100 Peachtree St.

Ste. 1400

Atlanta, GA 30309

Honorable Bernice Donald
US DISTRICT COURT

